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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:

LOAAI AL-AKWAA,                                        Case No. 17-10892 (SMB)

                                        Debtor(s).
SAMA’A AL-HAMDANI

                Plaintiff,                             NOTICE OF APPEARANCE
                                                       OF PRO BONO COUNSEL
         v.
                                                       Adv. Pro. No. 17-01092 (SMB)
LOAAI AL-AKWAA,

                Defendant.


         PLEASE TAKE NOTICE that Jordan Harap of Quinn Emanuel Urquhart & Sullivan,

LLP, with offices located at 51 Madison Avenue, 22nd Floor, New York, New York 10010,

hereby appears on behalf of Sama’a Al-Hamdani in connection with the above-referenced

adversary proceeding, and hereby requests that all notices given or required to be given and all

papers served or required to be served in this case be given to and served on the undersigned at

the address set forth below.

         I hereby certify that I am admitted to practice before this Court.

Dated: February 9, 2018                         QUINN EMANUEL URQUHART & SULLIVAN, LLP

                                                By:    Jordan Harap
                                                       Jordan Harap

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